                                                           DIRECT DIAL       212.763.0883
                                                           DIRECT EMAIL      rkaplan@kaplanhecker.com




                                                                          September 30, 2022

VIA ECF

The Honorable Lewis A. Kaplan
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

                       Re:     Carroll v. Trump, No. 20 Civ. 07311 (LAK) (JLC)

Dear Judge Kaplan:

       We write on behalf of Plaintiff E. Jean Carroll in opposition to Defendant Donald J.
Trump’s letter motion for a stay dated September 28, 2022. ECF 92. For the reasons below, we
believe the motion should be denied.

        Defendant seeks to unilaterally reap the benefits of discovery by invoking an appeal that
has been pending for twenty months. Defendant claims that discovery should be stayed because
there is a “case-dispositive” appeal pending. But that has been true since November 2020, and
current circumstances are not materially different now that the scope-of-employment issue has
been certified to the D.C. Court of Appeals. In that time, Defendant has not hesitated to litigate in
pursuit of his own advantage. On December 1, 2021, he moved to expand the scope of this action
by adding an anti-SLAPP counterclaim against Plaintiff. ECF 59. And on April 1, 2022, after the
Court denied that motion, Defendant affirmatively proposed to Plaintiff (and Plaintiff agreed) that
the parties resume discovery. ECF 75. On May 5, the parties jointly stipulated to a schedule, which
the Court adopted that same day. ECF 75-1, 76. Once again, all of this occurred while Defendant
knew that a “case-dispositive” appeal was pending. See Letter from A. Habba, Carroll v. Trump,
No. 20-3977 (2d Cir. July 20, 2022) (informing Second Circuit of ongoing discovery and
acknowledging that “issues raised in this appeal are dispositive as to the underlying case”).

        Moreover, Defendant has spent four months taking advantage of the very discovery process
that he set in motion. He has obtained 30,469 pages of records from Plaintiff, obtained hundreds
more pursuant to nonparty subpoenas, obtained 19 substantive interrogatory responses, and
recently deposed a key nonparty witness. In contrast, Defendant produced just eight documents
and four incomplete interrogatory responses; he otherwise stonewalled every document request
and interrogatory, refused to turn over basic information about witnesses required by Local Civil
                                                                                                                  2

Rule 26.3(c)(3), 1 and violated every deadline that applied to his discovery responses without any
credible excuse for his failure. Throughout, Defendant has objected to discovery requests on the
ground that it was “more practical” to obtain the information Plaintiff seeks at “a deposition”—
and so Plaintiff finally had to schedule Defendant’s deposition for the first half of October. 2

        Now that Defendant has benefited substantially from a discovery process that he actively
set in motion—and now that he faces the prospect of his own deposition, having stonewalled every
other discovery mechanism—he suddenly says that the continued pendency of a “case-dispositive”
appeal changes everything. Nonsense. The Second Circuit’s ruling changed hardly anything: it left
open the ultimate question that has been on appeal for twenty months—namely, whether the United
States should have been substituted for Defendant. Defendant initiated discovery while the scope-
of-employment question was on appeal, he sought to add a counterclaim while it was on appeal,
and he obtained documents and testimony while it was on appeal. He should not be permitted to
assert at the last minute that he is entitled to avoid a deposition because it remains on appeal.

        The argument that the Second Circuit decision requires substitution and a stay is both
self-defeating and legally flawed. Defendant does not address any of the factors that a party
typically must satisfy to obtain a stay. See In re World Trade Ctr. Disaster Site Litig., 503 F.3d
167, 170 (2d Cir. 2007). Instead, he principally argues that because the Second Circuit vacated this
Court’s scope-of-employment decision and certified the scope-of-employment question to the
D.C. Court of Appeals, the United States is now the proper defendant in this case. ECF 92 at 1–2.

        As an initial matter, if Defendant were correct that the United States is now the defendant,
then he would lack standing to seek a stay. Where a person “is not a party to [a] civil action,” that
person “does not have standing to move for a stay.” Doe v. Indyke, No. 20 Civ. 00484, 2020 WL
5518384, at *2 (S.D.N.Y. Sept. 14, 2020). If the Court were to hold that the Second Circuit’s
decision somehow resulted in substitution of the United States, and if a party at that point were to
seek a stay of proceedings, a different set of issues would arise. But for now, there is no basis for
Defendant to seek both substitution and a stay of all proceedings in the case.

       More fundamentally, Defendant is mistaken that substitution must occur “[b]y virtue of the
Second Circuit’s Decision.” ECF 92 at 1. Although the language of the Westfall Act refers to what
“shall” happen “[u]pon certification” by the Attorney General, 28 U.S.C. § 2679(d)(2), that
language does not leave judges with the sole job of “rubber-stamp[ing]” the Attorney General’s
scope-of-employment certification. Gutierrez de Martinez v. Lamagno, 515 U.S. 417, 429, 115 S.
Ct. 2227, 2234 (1995). In holding that such certifications are subject to judicial review, the

1
 For example, Defendant identified his son-in-law Jared Kushner as one of only six people with whom Defendant has
purportedly ever spoken about Plaintiff or this action. We have requested the address and employer of Mr. Kushner
and the other five witnesses—information that Defendant must disclose under Local Civil Rule 26.3(c)(3)—on six
occasions since August 23. Defendant’s counsel have repeatedly dodged our request, writing recently that they “have
reached out to the appropriate parties and are still working to obtain this information.”
2
  The current schedule for confirmed depositions is as follows: Plaintiff’s deposition of Cande Carroll (October 4),
Plaintiff’s deposition of Stephanie Grisham (October 6), Plaintiff’s deposition of Roberta Myers (October 12),
Defendant’s deposition of Carol Martin (October 12), Plaintiff’s deposition of Jessica Leeds (October 13), Plaintiff’s
deposition of Natasha Stoynoff (October 13), Defendant’s deposition of Plaintiff (October 14), and Plaintiff’s
deposition of Defendant (October 19).
                                                                                                                        3

Supreme Court disagreed that “[u]pon certification . . . the United States would automatically
become the defendant.” Id. In so ruling, the Supreme Court emphasized that “shall” does not
always mean “must,” and it sometimes means “should, will, or even may.” Id. at 432 n.9.
Accounting for statutory text and purpose, the Supreme Court held that certification “does not
conclusively establish as correct the substitution of the United States as defendant.” Id. at 434.

        Indeed, many cases (including several cited by Defendant on appeal) demonstrate that
when certification is contested, it occurs after the United States prevails on a motion to substitute.
In Council on American Islamic Relations v. Ballenger, for example, the D.C. Circuit stated that
“[o]nce a court determines that the federal employee acted within the scope of employment, the
case is, inter alia, restyled as an action against the United States that is governed by the Federal
Tort Claims Act.” 444 F.3d 659, 662 (D.C. Cir. 2006) (emphasis added). The D.C. Circuit similarly
explained in Wuterich v. Murtha that “where a plaintiff fails to allege sufficient facts to rebut the
certification, the United States must be substituted as the defendant because the federal employee
is absolutely immune from suit.” 562 F.3d 375, 381 (D.C. Cir. 2009) (emphasis added).

        Tellingly, the United States followed that exact procedure here. On September 8, 2020, the
United States filed a motion requesting “an order substituting the United States as defendant for
President Donald J. Trump.” ECF 3 at 1. It reiterated its “request[]” in its reply, ECF 21 at 15, and,
in seeking adjournment of oral argument, referred to its “pending motion to substitute,” ECF 25. 3
In Defendant’s view, the United States never had to file any motion at all, and apparently seasoned
Department of Justice lawyers misunderstood Westfall Act procedure. But the record is clear: the
United States still has not obtained the relief it expressly requested, and the Second Circuit has not
resolved the motion in its favor. Instead, it vacated (rather than reversed) this Court’s ruling on the
United States’ motion to substitute, which at most reverts the status of that motion to “pending.”
See, e.g., Halebian v. Berv, 869 F. Supp. 2d 420, 424 (S.D.N.Y. 2012), aff’d, 548 F. App’x 641
(2d Cir. 2013) (upon vacatur of original decision, issues raised by underling motion remained to
be decided). In these circumstances, the United States has not been substituted in lieu of Defendant.

        The language that Defendant quotes from Osborn v. Haley, 549 U.S. 225, 127 S. Ct. 881
(2007), is not to the contrary. See ECF 92 at 2. Osborn concerned whether certification is proper
when a federal officer denies the occurrence of the allegedly tortious conduct. Id. at 231. Although
the Court stated that the United States remained the defendant “unless and until the District Court
determines that the employee, in fact, . . . engaged in conduct beyond the scope of his
employment,” the Court was a drawing contrast with a situation in which the employee “simply
as alleged by the plaintiff” engaged in such conduct. Id. In other words, the Court was focused on
what it took to rebut the certification as an evidentiary matter, and it did not depart from its
reasoning in Gutierrez (discussed above). Accord Bowles v. United States, 685 F. App’x 21, 24
(2d Cir. 2017) (quoting Osborn in stating that certification “constitutes ‘prima facie evidence’”).


3
  The United States and Defendant presented the same account on appeal. E.g., U.S. Appellate Br. at 2 (“The district
court rejected the United States’ motion to be substituted as the defendant.”); id. at 3 (“[T]he United States filed . . . a
motion to have the United States substituted as the sole defendant.”); id. at 23 (“In its opening motion papers, the
United States sought substitution . . . .”); id. at 24 (“[T]he relevant claim is that the United Sates should properly be
substituted . . . .”); Trump Appellate Br. at 2 (“[T]he United States moved in the District Court to substitute . . . .”);
id. at 3 (“[T]he United States . . . filed a motion in that court to substitute the United States as defendant.”).
                                                                                                   4

        The traditional stay factors cut strongly against a stay. Defendant argues that because the
D.C. Court of Appeals’ “forthcoming ruling will be case-dispositive,” it would be “highly
prejudicial and inequitable for Defendant to engage in time-consuming and expensive pre-trial
preparation—much less proceed to trial—until this issue has been conclusively resolved.” ECF 92
at 2. That argument echoes many of the points that Defendant raised in his first motion to stay,
which this Court denied, and for which Defendant did not seek reconsideration. ECF 47, 56; Text
Order dated Sept. 15, 2021. Moreover, as explained above, it would be inequitable for Defendant
now to obtain a stay based on the pendency of the same case-dispositive appeal that has been
pending throughout his own efforts to add a counterclaim and engage in substantial discovery
practice. A mere change in venue to D.C. for that ongoing appeal does not explain—and certainly
does not justify—Defendant’s about-face on whether discovery should continue while the
appellate process unfolds.

         The impracticality of cutting off discovery now that Defendant finally faces the prospect
of satisfying his discovery obligations is only heightened by one more consideration: the relevance
of the discovery here to the Adult Survivors Act case that Plaintiff will file in November. See
ECF 89. The underlying dispute in both cases encompasses a single core disagreement—did
Defendant sexually assault Plaintiff—and Defendant will have to testify under oath about his
actions either way. To assuage concerns about duplicative discovery, and to the extent it wasn’t
already clear, Plaintiff agrees that any depositions in the present action may be used for Plaintiff’s
forthcoming action, thereby promoting efficiency and obviating the need for do-overs.

                                          *       *       *

         This case began on November 4, 2019, and it could hardly be clearer that Defendant hopes
to “run out the clock” until he is elected president again. Defendant’s motion to stay represents
more of the same delay tactics he has long used, see ECF 16 at 7–8—and reflects his broader
pattern of contorting the law and facts to avoid any legal repercussions for his misconduct. It also
reflects his continued bad faith. Indeed, even as Defendant’s lawyers insisted in this case that
“Presidents plainly are employees of the Government,” Trump Appellate Br. at 6, his lawyers told
the Justice Department on May 25, 2022, that he could not face criminal liability for
misappropriating classified documents to Mar-a-Lago because “an element of this offense . . . is
that the accused is ‘an officer, employee, contractor, or consultant of the United States” and “[t]he
President is none of these,” Ex. 1 to Unsealed Search Warrant at 2, In re: Sealed Search Warrant,
No. 22 M.J. 8332 (S.D. Fla. Aug. 26, 2022), ECF 102-1. To hear Defendant tell it, he acted as an
employee of the government in retaliating against Plaintiff for revealing that he had raped her
decades earlier, and in declaring that she was too ugly to rape, but he could not possibly have been
an employee of the government when he absconded from the White House with national security
secrets.

        Defendant’s inconsistencies continue here. He cannot seek a stay based on a theory of
substitution that would deprive him of standing to argue for a stay in the first place. He cannot
obtain automatic substitution of the United States when the very cases he has previously cited
describe a very different order of operations. And he cannot rely on the pendency of an appeal to
block any further discovery when he has aggressively pursued counterclaims, document requests,
and depositions during the pendency of that very same appeal.
                                                    5




                          Respectfully submitted,




                          Roberta A. Kaplan

cc:   Counsel of Record
